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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

REYES,

                      Plaintiff,
                                                   No. 22 CV 9482 (LAP)
-against-
                                                            ORDER
CITY PRACTICE GROUP OF NEW
YORK, LLC, et al.,

                      Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

     The    Court   is   in    receipt    of     the   parties’   letters   (dkt.

nos. 29-39) for a pre-motion conference.               The parties are directed

to appear in Courtroom 12A, United States Courthouse, 500 Pearl

Street,    New   York,   New    York     10007    on   January    29,   2024,   at

10:00 a.m., Eastern Time, for a pre-motion conference.

     Plaintiff and a decision-maker for Defendants shall attend in

order to discuss settlement.             Counsel shall make available all

communications referred to in their letters.



SO ORDERED.

Dated:       January 2, 2024
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge
